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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    FRANCHISE GROUP, INC., et al.,1                                 Case No. 24-12480 (JTD)

                             Debtors.                               (Jointly Administered)


                                   NOTICE OF APPEARANCE AND
                                 REQUEST FOR SERVICE OF PAPERS

             PLEASE TAKE NOTICE that the undersigned counsel hereby appears as counsel in the

above-captioned case for and on behalf of Kawips Delaware Cuyahoga Falls, LLC (“Kawips”),

for all purposes in connection with this case. The undersigned counsel hereby requests service of

any and all notices given or required to be given in the above-captioned case, and all papers served

or required to be served in the case, and request that the name and address of the undersigned

counsel be added to all mailing matrices in this case. Service may be made and directed as follows:




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  The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
(8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
(5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet, LLC
(n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group
Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968),
Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate
BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe
Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe
Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590),
Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco
PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service
Newco, LLC (6414), WNW Franchising , LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP
Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL,
LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located
at 109 Innovation Court, Suite J, Delaware, Ohio 43015.
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       PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the

notices and papers referred to in the Bankruptcy Rules and the Bankruptcy Code, but also includes

without limitation any notice, application, complaint, demand, motion, petition, pleading or

request, whether formal or informal, written or oral, and whether transmitted or conveyed by mail,

delivery, telephone, telegraph, telex, email, electronic filing or otherwise filed or made with regard

to the above-captioned case and proceedings therein, and for the purposes of CM/ECF.

       This Notice of Appearance and Request for Service of Papers is without prejudice to

Kawips’s rights, remedies, and claims against other entities or any objection that may be had to

the subject-matter jurisdiction of the court, and shall not be deemed or construed to submit Kawips

to the jurisdiction of the Court. All rights, remedies, and claims are hereby expressly reserved,

including without limitation Kawips’s (i) right to have final orders in non-core matters entered

only after de novo review by a District Judge, (ii) right to trial by jury in any proceeding so triable

in these cases or in any case, controversy, or proceeding related to these cases, (iii) right to have

the District Court withdraw the reference in any matter subject to mandatory or discretionary

withdrawal, (iv) right to seek a change of venue, or (v) any other rights, claims, actions, setoffs or

recoupments to which Kawips is or may be entitled, in law or in equity, all of which rights, claims,

actions, defenses, setoffs, and recoupments Kawips expressly reserves.




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Dated: December 6, 2024             CROSS & SIMON, LLC

                                     /s/ Kevin S. Mann
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